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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
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     Individual appearing without attorney
     Attorney for: Plaintiffs

                                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

In re:
                                                                          CASE NO.:               2:16-bk-13575-TD
LIBERTY ASSET MANAGEMENT CORPORATION, a
California corporation,                                                   ADVERSARY NO.: 2:16-ap-01278

                                                                          CHAPTER:                11
                                                           Debtor(s).

AHA 2012 LLC; FRANK LEE, Co-Trustee of THE LEE                                              JOINT STATUS REPORT
LIVING TRUST DATED 6/23/1987; CHRISTOPHER D.                                                   [LBR 7016-1(a)(2)]
LEE; YCJS 2012 LLC; RICHBEST HOLDING LLC

                                                                          DATE:                 03/21/2016
                                                          Plaintiff(s).
                                                                          TIME:                 11:00 a.m.
                                 vs.                                      COURTROOM:            1568
LIBERTY ASSET MANAGEMENT CORPORATION, et.                                 ADDRESS:              255 East Temple Street
al.,                                                                                            Los Angeles, CA 90012


                                                      Defendant(s).


The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a)(2):

A. PLEADINGS/SERVICE:
    1. Have all parties been served with the complaint/counterclaim/cross-claim, etc.                                        Yes              No
       (Claims Documents)? Notice of Removal served.
    2. Have all parties filed and served answers to the Claims Documents?                                                    Yes          No
    3. Have all motions addressed to the Claims Documents been resolved?                                                     Yes          No
    4. Have counsel met and conferred in compliance with LBR 7026-1?                                                         Yes          No




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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    5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
       explain below (or on attached page):
       Plaintiffs: The Plaintiffs are informed and believe that Vanessa Van Holland has not filed and served answers
       to the Claims Documents.




B. READINESS FOR TRIAL:

    1.      When will you be ready for trial in this case?
                                Plaintiff                                                           Defendant
                                                                                See Section F.



    2. If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further
       delay.
                                Plaintiff                                     Defendant
                                                                                See Section F.




    3. When do you expect to complete your discovery efforts?
                              Plaintiff                                                             Defendant
                                                                                See Section F.



    4. What additional discovery do you require to prepare for trial?
                               Plaintiff                                                            Defendant
                                                                                 See Section F.




C. TRIAL TIME:

    1. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
       applicable)?
                               Plaintiff                                         Defendant
                                                                                 Unknown at this time.



    2. How many witnesses do you intend to call at trial (including opposing parties)?
                            Plaintiff                                            Defendant
                                                                                  Unknown at this time.




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    3. How many exhibits do you anticipate using at trial?
                             Plaintiff                                                          Defendant
                                                                                    Unknown at this time.



D. PRETRIAL CONFERENCE:

    A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
    be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
    this case, please so note below, stating your reasons:

                               Plaintiff                                                                 Defendant
     Pretrial conference         is      is not requested                     Pretrial conference         is    is not requested
     Reasons:                                                                 Reasons:
                                                                              See Section F.


                             Plaintiff                                                               Defendant
     Pretrial conference should be set after:                                 Pretrial conference should be set after:
     (date)                                                                   (date)


E. SETTLEMENT:

    1. What is the status of settlement efforts?




    2. Has this dispute been formally mediated?                        Yes             No
       If so, when?
        March 2016


    3. Do you want this matter sent to mediation at this time?

                                 Plaintiff                                                               Defendant

                                 Yes           No                                                        Yes           No




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F. FINAL JUDGMENT/ORDER:

     Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
     proceeding must raise its objection below. Failure to select either box below may be deemed consent.

                             Plaintiff                                                                Defendant
          I do consent                                                             I do consent
          I do not consent                                                         I do not consent
      to the bankruptcy court’s entry of a final judgment                      to the bankruptcy court’s entry of a final judgment
      and/or order in this adversary proceeding.                               and/or order in this adversary proceeding.


G.   ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)
     Plaintiffs: Plaintiffs request that the status conference be continued for six (6) months.

     Defendants Liberty Asset Management Corporation and Oak River Asset Management LLC (the "Defendants"):
     The Defendants agree with Plaintiffs that, until the subject property located at 119 Furlong Lane, Bradbury CA
     91008 (the "Property") is sold, it would premature to continue with the litigation. The Property is currently in the
     procesa of being repaired and marketed for sale. As a result, the Defendants also request a six (6) month
     continuance of the status conference.




Respectfully submitted,

Date: 03/07/2017                                                                Date: 03/07/2017

Henshaw Law Office
__________________________________________                                       Levene, Neale, Bender, Yoo & Brill L.L.P.
                                                                                ___________________________________________
Printed name of law firm                                                        Printed name of law firm


 /s/ David S. Henshaw
__________________________________________                                      /s/ Jeffrey S. Kwong
                                                                                ___________________________________________
Signature                                                                       Signature

David S. Henshaw
__________________________________________                                       Jeffrey S. Kwong
                                                                                ___________________________________________
Printed name                                                                    Printed name

              Plaintiffs
Attorney for: ________________________________                                                Defendants Liberty Asset Management
                                                                                Attorney for: _________________________________
                                                                                 Corporation and Oak River Asset Management LLC




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